Case 3:19-cv-18983-GC-TJB Document 62 Filed 02/24/23 Page 1 of 1 PagelD: 878

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

LYRESHIA BONDS,
Plaintiff,
V.

Civil Action No. 19-18983 (GC) (TJB)

NJ JUDICIARY ADMINISTRATION OF
THE COURT et al., ORDER

Defendants.

This matter comes before the Court on Defendants New Jersey Judiciary, Administrative
Office of the Courts, Laura Schweitzer, Lori Grimaldi, Greg Lambard, Kyle Francis, Evan
Sullivan, Janine Abdalla, and Stefanie Bose’s (collectively, “Defendants”) Motion to Dismiss
Plaintiff Lyreshia Bonds’s (“Plaintiff”) Amended Complaint. (ECF No. 47.) Plaintiff opposed
(ECF No. 48), and Defendants replied (ECF No. 49). The Court has carefully considered the
parties’ submissions and decides the matter without oral argument under Local Civil Rule 78.1.
For the reasons set forth in the accompanying Memorandum Opinion, and other good cause shown,
tA
IT IS, on thisal3_day of February 2023, ORDERED as follows:
1. Defendants’ Motion to Dismiss (ECF No. 47) is GRANTED.
2. Counts Six and Seven of Plaintiffs Amended Complaint are DISMISSED

WITH PREJUDICE.

Gvoyett pa
pc CASTNER

ITED STATES DISTRICT JUDGE

